PROB35                                                                                  Report and Order Terminating Supervision
(Reg 3/93)                                                                                       Prior to Original Expiration Date



                                      UNITED STATES DISTRICT COURT
                                                   FOR THE
                                     EASTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

                          v.                                           Crim. No. S:ll-CR-74-1D

MAURICE LAMONT WATSON

        On April 12, 2019, the above named was released from prison and commenced a term of supervised
release for a period of 60 months. The offender has complied with the rules and regulations of supervised
release and is no longer in need of supervision. It is accordingly recommended that the offender be
discharged from supervision.

                                                               I declare under penalty of perjury that the foregoing
                                                               is true and correct.


                                                               Isl Timothy L. Gupton
                                                               Timothy L. Gupton
                                                               Senior U.S. Probation Officer
                                                               310 New Bern Avenue, Room 610
                                                               Raleigh, NC 27601-1441
                                                               Phone: 919-861-8686
                                                               Executed On: October 19, 2021


                                                 ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision and that
the proceedings in the case be terminated.

             Dated this        l.0     day of   () c   f.o he '\        , 2021.




                                                                      \James C. Dever III
                                                                       U.S. District Judge




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